Case 1:20-cv-00932-LAS Documen t214 Filed 05/20/25 Pagelof1

GAnited States Court of Federal Claims

HOWARD T. MARKEY NATIONAL COURTS BUILDING
717 MADISON PLACKHK, NW
WASHINGTON, DC 20439

OFFICE OF THE
CLERK OF COURT

May 20, 2025

Lindsay S.C. Brinton
Lewis Rice LLC

600 Washington Avenue
Suite 2500

St. Louis, MO 63101

In re: Kotis Associates, LLC, et al. v. The United States;

Tia a a aie SS ee eee ee

Case No. 20-932 L

Dear Ms. Brinton:

I enclose herewith the 28 U.S.C. § 2517 certified transcript of judgment, dated May 20,
2025, in the above-entitled cases.

As to the procedure for obtaining payment of this judgment, please see the enclosed
instruction sheet.

Sincerely,

JALa EV, (th?

Lisa L. Reyes
Clerk of Court

Enclosures

cc: via CW/ECF only
Krystal-Rose Perez, Esquire

